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         Exhibit A
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              IN THE IOWA DISTRICT COURT IN AND FOR MILLS COUNTY

 PAM BLACKBURN, individually and on
 behalf of a class of similarly situated
 individuals,
                                                         CASE NO. _________
                 PLAINTIFF,

 V.                                                      ORIGINAL NOTICE
 CHAMPION PETFOODS USA, INC.
 and CHAMPION PETFOODS LP,

                 DEFENDANTS.


TO EACH OF THE ABOVE-NAMED DEFENDANTS:

         You are hereby notified that there is now on file in the office of the Clerk of the above court a
Petition in the above-entitled action, a copy of which is attached hereto (along with copies of any
documents filed with it). The Plaintiff’s attorneys are J. Barton Goplerud and Brandon M. Bohlman
of the law firm of Shindler, Anderson, Goplerud & Weese, P.C., whose address is 5015 Grand Ridge
Drive #100, West Des Moines, Iowa 50265, whose phone number is 515-223-4567, and whose fax
number is 515-223-8887.

        Iowa is a state which utilizes electronic filing in all counties. General rules and information
on electronic filing are contained Iowa Court Rules Chapter 16. Information regarding requirements
related to the protection of personal information in court filings is contained in Iowa Court Rules
Chapter 16, Division VI. You must serve a motion or answer within 20 days after service of this
Original Notice upon you by using the Iowa Judicial Branch Electronic Document Management
System (EDMS) at www.iowacourts.state.ia.us/efile, unless you obtain from the court an exemption
from electronic filing requirements. If you do not file your appearance, motion to answer within 20
days from the date you are served with this Original Notice, judgment by default will be rendered
against you for the relief demanded in the Petition.

                                                 CLERK OF COURT
                                                 Mills County Clerk of Court
                                                 418 Sharp Street
                                                 Glenwood, IA 51534

NOTE: The attorney who is expected to represent the Defendant(s) should be promptly advised by
Defendant(s) of this Original Notice.

If you require the assistance of auxiliary aids or services to participate in court because of a disability,
immediately call your District ADA Coordinator at 712-328-5883. (If you are hearing impaired, call
Relay Iowa TTY at 1-800-735-2942).


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STATE OF IOWA JUDICIARY                                                      Case No.   CVCV026865
                                                                             County     Mills
Case Title    PAM BLACKBURN V. CHAMPION PETFOODS USA, ET AL.

    THIS CASE HAS BEEN FILED IN A COUNTY THAT USES ELECTRONIC FILING.
Therefore, unless the attached Petition and Original Notice contains a hearing date for your appearance, or unless you obtain an
exemption from the court, you must file your Appearance and Answer electronically.

You must register through the Iowa Judicial Branch website at http://www.iowacourts.state.ia.us/Efile and obtain a log in and
password for the purposes of filing and viewing documents on your case and of receiving service and notices from the court.

FOR GENERAL RULES AND INFORMATION ON ELECTRONIC FILING, REFER TO THE IOWA COURT RULES CHAPTER
16 PERTAINING TO THE USE OF THE ELECTRONIC DOCUMENT MANAGEMENT SYSTEM:
http://www.iowacourts.state.ia.us/Efile

FOR COURT RULES ON PROTECTION OF PERSONAL PRIVACY IN COURT FILINGS, REFER TO DIVISION VI OF IOWA
COURT RULES CHAPTER 16: http://www.iowacourts.state.ia.us/Efile




Scheduled Hearing:




If you require the assistance of auxiliary aids or services to participate in court because of a disability, immediately call your district
ADA coordinator at (712) 328-5883 . (If you are hearing impaired, call Relay Iowa TTY at 1-800-735-2942.)

Date Issued    10/19/2018 02:17:08 PM




District Clerk of Mills                      County

/s/ Kim Carter
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                IN THE IOWA DISTRICT COURT IN AND FOR MILLS COUNTY

 PAM BLACKBURN, individually and on
 behalf of a class of similarly situated
 individuals,
                                                  CASE NO. _________
                  PLAINTIFF,

 V.                                               CLASS ACTION PETITION AND
                                                  JURY DEMAND
 CHAMPION PETFOODS USA, INC.
 and CHAMPION PETFOODS LP,

                  DEFENDANTS.



           1.    Plaintiff Pam Blackburn (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through her undersigned attorneys, brings this Class Action

Petition against Defendants Champion Petfoods USA, Inc. and Champion Petfoods LP

(“Defendants”), for their negligent, reckless, and/or intentional practice of misrepresenting

and failing to fully disclose the presence of heavy metals and toxins in their pet food sold

throughout the United States. Plaintiff seeks both injunctive and monetary relief on behalf

of the proposed Class (defined below), including requiring full disclosure of all such

substances in their marketing, advertising, and labeling and restoring monies to the

members of the proposed Class. Plaintiff alleges the following based upon personal

knowledge as well as investigation by her counsel and as to all other matters, upon

information and belief. Plaintiff believes that substantial evidentiary support will exist for

the allegations set forth herein after a reasonable opportunity for discovery.




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DEFENDANTS MARKET THEMSELVES AS ONLY SELLING PREMIUM DOG
             FOOD WITH THE SIMPLE MISSION OF
              “TO BE TRUSTED BY PET LOVERS”

           2.    Defendants manufacture, market, advertise, label, distribute, and sell pet

food under the brand names Acana and Orijen throughout the United States, including in

this District.

           3.    Defendants have created a niche in the pet food market by “making

biologically ‘appropriate’ pet food- as close to what animals would eat in nature as

possible- and producing it using fresh, natural ingredients…” They then charge a premium

for this purportedly higher-quality food. The founder of the company, Peter Muhlenfeld,

said, “Our core family beliefs are [] entrenched in the company, and that is to make the

very best food.”1

           4.    Defendants tout that “Biologically Appropriate™ Orijen represents a new

class of food, designed to nourish dogs and cats according to their evolutionary adaptation

to a diet rich and diverse in fresh meat and protein[]” and that it is “trusted by pet lovers

everywhere.”2

           5.    Defendants’ packaging and labels further emphasize fresh, quality, and

properly sourced ingredients and even declare their dog food has “ingredients we love”:




1
 The Globe and Mail, “How once-tiny pet-food maker took a bite of the global market,” Jan. 16,
2018,https://www.theglobeandmail.com/report-on-business/small-business/canadian-
powerhouse-export-your-dog-is-eating-it/article37605774/ (last visited Feb. 6, 2018).
2
    https://www.orijen.ca/us/




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           6.   Yet nowhere in the labeling, advertising, statements, warranties, and/or

packaging do Defendants disclose that the Contaminated Pet Foods (defined herein)

contain levels of arsenic, mercury, lead, cadmium and/or Bisphenol A (“BPA”) — all

known to pose health risks to humans and animals, including dogs:3

                            arsenic ug      bpa ug      cadmium        mercury        lead ug
    Product Name              per kg        per kg      ug per kg      ug per kg       per kg
    Acana Regionals Wild     3256.40         32.50       113.00          51.20         249.30
    Atlantic New England
    Fish and Fresh Greens
    Dry Dog Food



3
  All the below pet food collectively is referred to as the “Contaminated Dog Foods.” Discovery
in this action likely will lead to the identification of additional products based on Defendants’
public acknowledgment that their foods do contain heavy metals.




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                         arsenic ug    bpa ug      cadmium     mercury      lead ug
 Product Name              per kg      per kg      ug per kg   ug per kg     per kg
 Orijen Six Fish With     3169.80       39.50       200.50       54.90       38.70
 New England
 Mackerel, Herring,
 Flounder, Redfish,
 Monkfish, Silver Hake
 Dry Dog Food
 Orijen Original           907.60        0.00        93.20       10.80      489.80
 Chicken, Turkey,
 Wild-Caught Fish,
 Eggs Dry Dog Food
 Orijen Regional Red       849.40       43.60       123.10       21.40      167.70
 Angus Beef, Boar,
 Goat, Lamb, Pork,
 Mackerel Dry Dog
 Food
 Acana Regionals           846.40       82.70        37.50        8.70      489.00
 Meadowland with
 Poultry, Freshwater
 Fish and Eggs Dry
 Dog Food
 Acana Regionals           358.20       82.90        32.50       14.90      336.70
 Appalachian Ranch
 with Red Meats and
 Freshwater Catfish
 Dry Dog Food
 Acana Regionals           262.80        0.00        30.60        9.60      305.00
 Grasslands with
 Lamb, Trout, and
 Game Bird Dry Dog
 Food
 Orijen Regional Red      1066.50       37.70        62.10       21.70      138.50
 Angus Beef, Ranch
 Raised Lamb, Wild
 Boar, Pork, Bison Dry
 Dog Food
 Acana Singles Duck        523.40       102.70       30.90       15.40      537.40
 and Pear Formula Dry
 Dog Food




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                         arsenic ug    bpa ug      cadmium     mercury      lead ug
 Product Name              per kg      per kg      ug per kg   ug per kg     per kg
 Acana Singles Lamb        401.20       73.20        35.00       3.20        423.40
 and Apple Formula
 Dry Dog Food
 Acana Heritage Free-      292.90       62.20        27.80        3.30      290.20
 Run Poultry Formula
 Dry Dog Food
 Acana Heritage            977.70        0.00        56.20       27.40      486.80
 Freshwater Fish
 Formula Dry Dog
 Food
 Orijen Tundra Freeze       23.13        6.02        27.64        5.35      12.26
 Dried Venison, Elk,
 Bison, Quail,
 Steelhead Trout Wet
 Dog Food
 Orijen Adult Dog           23.21       13.41        7.74         9.45       7.33
 Freeze Dried Chicken,
 Turkey, Wild-Caught
 Fish, Eggs Wet Dog
 Food
 Orijen Regional Red       102.66        0.00        23.40       19.60      16.85
 Freeze Dried Angus
 Beef, Ranch Raised
 Lamb, Wild Boar,
 Pork, Bison Wet Dog
 Food
 Orijen Six Fish Wild-    2173.90       39.70        92.20       58.80      55.10
 Caught Regional
 Saltwater and
 Freshwater Fish Dry
 Dog Food
 Orijen Tundra Goat,      1628.50       40.30       134.50       43.60      471.80
 Venison, Mutton,
 Bison, Arctic Char,
 Rabbit Dry Dog Food
 Orijen Grain Free         791.20       32.20        87.20       12.20      490.80
 Puppy Chicken,
 Turkey, Wild-Caught
 Fish, Eggs Dry Dog
 Food



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                           arsenic ug    bpa ug         cadmium     mercury     lead ug
 Product Name                per kg      per kg         ug per kg   ug per kg    per kg
 Acana Singles              1510.70       40.10          112.20       29.60      251.10
 Mackerel and Greens
 Formula Dry Dog
 Food
 Acana Heritage Meats        384.80       58.30           24.40       6.40      1731.90
 Formula Dry Dog
 Food
 Acana Singles Pork          373.70       57.60           25.60       4.00      329.60
 and Squash Formula
 Dry Dog Food


           7.   Defendants warrant, promise, represent, label, and/or advertise that the

Contaminated Pet Foods are free of any heavy metals and/or chemicals like BPA by

assuring the food represents an evolutionary diet that mirrors that of a wolf – free of

anything “nature did not intend for your dog to eat”:




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           8.    Defendants assert that: “Virtually All Of The Nutrients In Acana Are

Natural And Not Synthetic.”4 Defendants make a similar claim to the Orijen dog foods in

maintaining that the main source of any nutrient in Orijen is from a natural source.5

           9.   Defendants further warrant, promise, represent, advertise, and declare that

the Contaminated Dog Foods are made with protein sources that are “Deemed fit for human

consumption”:




4
    https://acana.com/wp-content/uploads/2015/10/DS-ACANA-Dog-Brochure-002.pdf
5
    https://www.orijen.ca/us/foods/dog-food/dry-dog-food/tundra/




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THE INCLUSION OF HEAVY METALS, BPA, AND ANY OTHER CHEMICALS
 AT ANY LEVEL WOULD BE MATERIAL TO A REASONABLE CONSUMER
   BASED ON THE INHERENT AND KNOWN RISKS OF CONSUMPTION
                      AND/OR EXPOSURE

Heavy Metals

           10.   Based on the risks associated with exposure to higher levels of arsenic, both

the U.S. Environmental Protection Agency (“EPA”) and U.S. Food and Drug

Administration (“FDA”) have set limits concerning the allowable limit of arsenic at 10

parts per billion (“ppb”) for human consumption in apple juice (regulated by the FDA) and

drinking water (regulated by the EPA).6

           11.   Moreover, the FDA is considering limiting the action level for arsenic in rice

cereals for infants to 100 ppb.7

           12.   The Contaminated Dog Foods also contain lead, which is another carcinogen

and developmental toxin known to cause health problems. Exposure to lead in food builds

up over time. Buildup can and has been scientifically demonstrated to lead to the

development of chronic poisoning, cancer, developmental, and reproductive disorders, as

well as serious injuries to the nervous system, and other organs and body systems.




6
  The FDA has taken action based on consumer products exceeding this limit, including testing
and sending warning letters to the manufacturers. See, e.g., Warning Letter from FDA to Valley
Processing, Inc. (June 2, 2016), https://www.fda.gov/iceci/enforcementactions/warningletters
/2016/ucm506526.htm.
7
 FDA, Draft Guidance for Industry: Inorganic Arsenic in Rice Cereals for Infants: Action Level
(Apr. 2016), https://www.fda.gov/downloads/Food/GuidanceRegulation/GuidanceDocuments
RegulatoryInformation/UCM493152.pdf.




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           13.   The Contaminated Dog Foods also contain mercury, which can cause

damage to the cardiovascular system, nervous system, kidneys, and digestive tract in dogs.

Continued exposure can also injure the inner surfaces of the digestive tract and abdominal

cavity, causing lesions and inflammation. There have also been reports of lesions in the

central nervous system (spinal cord and brain), kidneys, and renal glands.8

           14.   Finally, the Contaminated Dog Foods contain cadmium, which has been

observed to cause anemia, liver disease, and nerve or brain damage in animals eating or

drinking cadmium. The U.S. Department of Health and Human Services has determined

that cadmium and cadmium compounds are known human carcinogens and the EPA has

likewise determined that cadmium is a probable human carcinogen. 9

           15.   Indeed, the FDA has acknowledged that “exposure to [these four heavy]

metals are likely to have the most significant impact on public health” and has prioritized

them in connection with its heavy metals workgroup looking to reduce the risks associated

with human consumption of heavy metals.

           16.   Despite the known risks of exposure to these heavy metals, Defendants have

negligently, recklessly, and/or knowingly sold the Contaminated Dog Foods without

disclosing they contain levels of arsenic, mercury, cadmium, and lead to consumers like




8
    https://wagwalking.com/condition/mercury-poisoning
9
    https://www.atsdr.cdc.gov/phs/phs.asp?id=46&tid=15




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Plaintiff. Indeed, Defendants have publicly acknowledged that consumers “have deep

feelings and a sense of responsibility for the well-being of their dogs and cats.”10

           17.   Additionally, Defendants knew or should have been aware that a consumer

would be feeding the Contaminated Dog Foods multiple times each day to his or her dog,

making it the main, if not only, source of food for the dog. This leads to repeated exposure

of the heavy metals to the dog.

           18.   Defendants have wrongfully and misleadingly advertised and sold the

Contaminated Dog Foods without any label or warning indicating to consumers that these

products contain heavy metals, or that these toxins can over time accumulate in the dog’s

body to the point where poisoning, injury, and/or disease can occur.

           19.   Defendants’ omissions are material, false, misleading, and reasonably likely

to deceive the public. This is true especially in light of the long-standing campaign by

Defendants to market the Contaminated Dog Foods as healthy and safe to induce

consumers, such as Plaintiff, to purchase the products. For instance, Defendants market

the Contaminated Dog Foods as “Biologically Appropriate,” using “Fresh Regional

Ingredients” comprised of 100 percent meat, poultry, fish, and/or vegetables, both on the

products’ packaging and on Defendants’ websites.




10
  https://www.theglobeandmail.com/amp/report-on-business/small-business/canadian-powerhouse-
export-your-dog-is-eating-it/article37605774/




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           20.   Moreover, Defendants devote significant web and packaging space to the

marketing of their DogStar® Kitchens, which they tell consumers “are the most advanced

pet food kitchens on earth, with standards that rival the human food processing industry.”

           21.   Defendants state on their website that the Orijen pet foods “feature[]

unmatched and unique inclusions of meat, naturally providing everything your dog or cat

needs to thrive.” Defendants further promise on the products’ packaging and on their

websites that Orijen and Acana foods are “guaranteed” to “keep your dog happy, healthy,

and strong.”

           22.   Using such descriptions and promises makes Defendants’ advertising

campaign deceptive based on the presence of heavy metals in the Contaminated Dog

Foods. Reasonable consumers, like Plaintiff, would consider the mere inclusion of heavy

metals in the Contaminated Dog Foods a material fact in considering what pet food to

purchase. Defendants’ above-referenced statements, representations, partial disclosures,

and omissions are false, misleading, and crafted to deceive the public as they create an

image that the Contaminated Dog Foods are healthy, safe, and free of contaminants such

as arsenic and lead. Moreover, Defendants knew or should have reasonably expected that

the presence of heavy metals in their Contaminated Dog Foods is something an average

consumer would consider when purchasing dog food. Defendants’ representations and

omissions are false, misleading, and reasonably likely to deceive the public.

           23.   Moreover, a reasonable consumer, such as Plaintiff and other members of the

Class, would have no reason to not believe and/or anticipate that the Contaminated Dog

Foods are “Biologically Appropriate” foods that use “Fresh Regional Ingredients”



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consisting only of meat, poultry, fish, and vegetables. Non-disclosure and/or concealment

of the toxins in the Contaminated Dog Foods coupled with the misrepresentations made by

Defendants suggesting that the food provides complete health and is safe is intended to and

does, in fact, cause consumers to purchase a product Plaintiff and members of the Class

would not have bought if the true quality and ingredients were disclosed. As a result of

these false or misleading statements and omissions, Defendants have generated substantial

sales of the Contaminated Dog Foods.

           24.   The expectations of reasonable consumers and deception of these consumers

by Defendants’ advertising, misrepresentations, packaging, and labeling is further

highlighted by the public reaction to this lawsuit as reported by various websites.

           25.   Plaintiff brings this action individually and on behalf of all other similarly

situated consumers within Iowa who purchased the Contaminated Dog Foods, in order to

cause the disclosure of the presence of heavy metals that pose a known risk to both humans

and animals in the Contaminated Dog Foods; to correct the false and misleading perception

Defendants have created in the minds of consumers that the Contaminated Dog Foods are

high quality, safe, and healthy; and to obtain redress for those who have purchased the

Contaminated Dog Foods.

“BPA”

           26.   The dangers of BPA in human food are recognized by the FDA, along with

various states. For instance, manufacturers and wholesalers are prohibited from selling

any children’s products that contain BPA and any infant formula, baby food, or toddler

food stored in containers with intentionally added BPA.



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           27.   Still, certain Contaminated Dog Foods are sold by Defendants that contain

levels of BPA—an industrial chemical that “‘is an endocrine disruptor. It’s an industrial

chemical that according to Medical News Today ‘. . . interferes with the production,

secretion, transport, action, function and elimination of natural hormones.’” 11 BPA has

been linked to various health issues, including reproductive disorders, heart disease,

diabetes, cancer, and neurological problems.12

           28.   Despite the presence of this harmful chemical, Defendants prominently

warrant, claim, feature, represent, advertise, or otherwise market the Contaminated Dog

Foods as made from “Biologically Appropriate” and “Fresh Regional Ingredients”

consisting entirely of fresh meat, poultry, fish, and vegetables.        Indeed, each bag

prominently displays the percentage of these ingredients on the front.

           29.   Defendants’ websites and packaging also warrant, claim, feature, represent,

advertise, or otherwise market that their products are natural. In fact, Orijen’s slogan is

“Nourish as Nature Intended.”




11
 Dr. Karen Beeker, A Major Heads Up: Don't Feed This to Your Dog, Healthy Pets (Feb. 13,
2017), https://healthypets.mercola.com/sites/healthypets/archive/2017/02/13/dogs-canned-food-
dangers.aspx.
12
  Christian Nordquist, Bisphenol A: How Does It Affect Our Health? Medical News Today (May
24, 2017), https://www.medicalnewstoday.com/articles/221205.php.



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           30.      In promoting their promise, warranty, claim, representation, advertisement,

or otherwise marketing that the Contaminated Dog Foods are safe and pure, Defendants

further assure their customers:

           Equipped with state-of-the-art fresh food processing technologies, our
           DogStar® kitchens feature 25,000 square feet of cooler space, capable of
           holding over 500,000 pounds of fresh local meats, fish and poultry, plus fresh
           whole local fruits and vegetables.
           Unmatched by any pet food maker, our ingredients are deemed fit for human
           consumption when they arrive at our kitchens fresh, bursting with goodness,
           and typically within 48 hours from when they were harvested.
           31.      To this end, Defendants’ websites further warrant, claim, feature, represent,

advertise, or otherwise market that the Contaminated Dog Foods are manufactured in such

a way that would prevent BPA forming by closely monitoring temperatures and quality:

                  “[O]ur unique Votator Heat Exchangers bring chilled fresh
                   ingredients to room temperature without introducing water or steam,
                   which enables us to add even more fresh meats into our foods.”

                  “Referred to as ‘the most significant preconditioning development for
                   extrusion cooking in the last 20 years,’ our High Intensity



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                    Preconditioners were custom-built for DogStar®, feeding fresh meats
                    from the Votators to Extruders at rates previously unheard of, and
                    without high temperatures.”

                  “At the heart of our kitchens is a twin thermal extruder which is fed
                   fresh ingredients from our High Intensity Preconditioner.
                    The first of its kind in North America, it took 11 months to build, and
                    features custom steam injection to enable very high fresh meat
                    inclusions and a gentle cooking process which helps further reduce
                    the carbohydrates in our foods and preserves their natural goodness.”

           32.      Thus, Defendants engaged in deceptive advertising and labeling practice by

expressly warranting, claiming, stating, featuring, representing, advertising, or otherwise

marketing on Acana and Orijen labels and related websites that the Contaminated Dog

Foods are natural, fit for human consumption, fit for canine consumption, and made from

“Biologically Appropriate” and “Fresh Regional Ingredients” consisting entirely of fresh

meat, poultry, fish, and vegetables when they contain the non-naturally occurring chemical

BPA.

           33.      Based on these false representations, Defendants charge a premium, knowing

that the claimed natural make-up of the Contaminated Dog Foods (as well as all of the

other alleged false and/or misleading representations discussed herein) is something an

average consumer would consider as a reason in picking a more expensive dog food. By

negligently and/or deceptively representing, marketing, and advertising the Contaminated

Dog Foods as natural, fit for human consumption, fit for canine consumption, and made

from “Biologically Appropriate” and “Fresh Regional Ingredients,” consisting entirely of

fresh meat, poultry, fish, and vegetables, Defendants wrongfully capitalized on, and reaped

enormous profits from, consumers’ strong preference for natural pet food products.




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           34.   Plaintiff brings this action individually and on behalf of all other similarly

situated consumers within Iowa who purchased the Contaminated Dog Foods, in order to

cause the disclosure of the presence of BPA that poses a known risk to both humans and

animals in the Contaminated Dog Foods; to correct the false and misleading perception

Defendants have created in the minds of consumers that the Contaminated Dog Foods are

high quality, safe, and healthy; and to obtain redress for those who have purchased the

Contaminated Dog Foods.

                         PARTIES, JURISDICTION AND VENUE

           35.   Plaintiff is, and at all times relevant hereto has been, a citizen of the state of

Iowa and resides in Mills County, Iowa. Plaintiff purchased the following Contaminated

Dog Foods for her dog, Tiger, a 9-year-old Soft Coated Wheaten Terrier: ACANA Singles

Protein Lamb and Apple. Plaintiff purchased the Contaminated Dog Foods once per month

on average between approximately February 2014 and February 2018, generally from

chewy.com and petflow.com. Prior to purchasing the Contaminated Dog Foods, Plaintiff

saw the nutritional claims on the packaging, which she relied on when deciding to purchase

the Contaminated Dog Foods. During that time, based on the false and misleading claims,

warranties, representations, advertisements, and other marketing by Defendants, Plaintiff

was unaware that the Contaminated Dog Foods contained any level of heavy metals,

chemicals, or toxins and would not have purchased the food if that was fully disclosed.

Plaintiff was injured by paying a premium for the Contaminated Dog Foods that have no

or de minimis value based on the presence of the alleged heavy metals, chemicals, and

toxins.



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           36.   As the result of Defendants’ negligent, reckless, and/or knowingly deceptive

conduct as alleged herein, Plaintiff was injured when she paid the purchase price or a price

premium for the Contaminated Dog Foods that did not deliver what was promised. She

paid the premium price on the assumption that the labeling of the Contaminated Dog Foods

was accurate and that it was healthy, superior quality, natural, and safe for dogs to ingest.

Plaintiff would not have paid this money had she known that the Contaminated Dog Foods

contained any levels of the heavy metals, chemicals, and/or toxins. Plaintiff was further

injured because the Contaminated Dog Foods have no or de minimis value based on the

presence of the alleged heavy metals, chemicals, and toxins. Damages can be calculated

through expert testimony at trial. Further, should Plaintiff encounter the Contaminated

Dog Foods in the future, she could not rely on the truthfulness of the packaging, absent

corrective changes to the packaging and advertising of the Contaminated Dog Foods.

           37.   Defendant Champion Petfoods USA Inc. (“Champion USA”) is incorporated

in Delaware. Its headquarters and principal place of business, as of March 2016, is located

at 12871 Bowling Green Road, Auburn, KY 42206. Since that time, all Contaminated Pet

Foods sold in the United States are manufactured, sourced, and sold by Champion USA.

Champion USA conducts business in the state of Iowa by selling and advertising the

Contaminated Dog Foods here.

           38.   Defendant Champion Petfoods LP (“Champion Canada”) is a Canadian

limited partnership with its headquarters and principal place of business located at 11403-

186 St NW, Edmonton, Alberta T5S 2W6. Defendant Champion Canada wholly owns,

operates, and/or controls Defendant Champion USA. Prior to March 2016, all



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Contaminated Pet Foods sold in the United States were manufactured, sourced, and sold

by Champion Canada. Champion USA conducts business in the state of Iowa by selling

and advertising the Contaminated Dog Foods here.

           39.   Defendants formulate, develop, manufacture, label, distribute, market,

advertise, and sell the Contaminated Dog Foods under the dog food brand names Orijen

and Acana throughout the United States, including in Iowa and this District, during the

Class Period (defined below).        The advertising, labeling, and packaging for the

Contaminated Dog Foods, relied upon by Plaintiff, was prepared, reviewed, and/or

approved by Defendants and their agents, and was disseminated by Defendants and their

agents through marketing, advertising, packaging, and labeling that contained the

misrepresentations alleged herein. The marketing, advertising, packaging, and labeling for

the Contaminated Dog Foods was designed to encourage consumers to purchase the

Contaminated Dog Foods and mislead the reasonable consumer, i.e., Plaintiff and the

Class, into purchasing the Contaminated Dog Foods. Defendants own, manufacture, and

distribute the Contaminated Dog Foods, and created, allowed, negligently oversaw, and/or

authorized the unlawful, fraudulent, unfair, misleading, and/or deceptive labeling and

advertising for the Contaminated Dog Foods.




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                               FACTUAL ALLEGATIONS

           The Contaminated Dog Foods

           40.   The Contaminated Dog Foods include the following:

                     (a) Acana Regionals Appalachian Ranch with Ranch-Raised Red Meats

                        & Freshwater Catfish Dry Dog Food;




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                 (b) Acana Regionals Grasslands with Grass-Fed Kentucky Lamb,

                    Freshwater Trout & Game Bird Dry Dog Food;




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                 (c) Acana Regionals Meadowland with Free-Run Poultry, Freshwater

                    Fish, and Nest-Laid Eggs Dry Dog Food;




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                 (d) Acana Regionals Wild Atlantic with Wild New England Fish &

                    Fresh Kentucky Greens Dry Dog Food;




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                 (e) Orijen Original with Fresh Free-Run Chicken and Turkey, Wild-

                    Caught Fish and Nest-Laid Eggs Dry Dog Food;




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                 (f) Orijen Regional Red with Angus Beef, Wild Boar, Boer Goat,

                    Romney Lamb, Yorkshire Pork & Wild Mackerel Dry Dog Food;




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                 (g) Orijen Regional Red Angus Beef, Ranch Raised Lamb, Wild Boar,

                    Pork, Bison Dry Dog Food;




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                 (h) Orijen Six Fish with New England Mackerel, Herring, Flounder,

                    Redfish, Monkfish, and Silver Hake Dry Dog Food;




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                  (i) Acana Singles Duck and Pear Formula Dry Dog Food;




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                  (j) Acana Singles Lamb and Apple Formula Dry Dog Food;




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                  (k) Acana Heritage Free-Run Poultry Formula Dry Dog Food;




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                  (l) Acana Heritage Freshwater Fish Formula Dry Dog Food;




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                (m) Orijen Tundra Freeze Dried Venison, Elk, Bison, Quail, Steelhead

                   Trout Wet Dog Food;




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                 (n) Orijen Adult Dog Freeze Dried Chicken, Turkey, Wild Caught Fish,

                    Eggs Wet Dog Food;




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                  (o) Orijen Regional Red Freeze Dried Angus Beef, Ranch Raised

                     Lamb, Wild Boar, Pork, Bison Wet Dog Food;




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                  (p) Orijen Regional Red Angus Beef, Ranch Raised Lamb, Wild Boar,

                     Pork, Bison Dry Dog Food;




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                  (q) Orijen Six Fish Wild-Caught Regional Saltwater and Freshwater

                     Fish Dry Dog Food;




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                  (r) Orijen Tundra Goat, Venison, Mutton, Bison, Arctic Char, Rabbit

                     Dry Dog Food;




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                  (s) Orijen Grain Free Puppy Chicken, Turkey, Wild-Caught Fish,

                     Eggs Dry Dog Food;




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                  (t) Acana Singles Mackerel and Greens Formula Dry Dog Food;




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                  (u) Acana Heritage Meats Formula Dry Dog Food;




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                  (v) Acana Singles Pork and Squash Formula Dry Dog Food.




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Heavy Metals Create Known Risks When Ingested

           41.   Toxins like arsenic, mercury, cadmium, and lead can cause serious illness to

humans and animals. A company should be vigilant to take all reasonable steps to avoid

causing family pets to ingest these toxins.

           42.   Arsenic is a semi-metal element in the periodic table. It is odorless and

tasteless. Arsenic occurs naturally in the environment as an element of the earth's crust; it

is found in rocks, soil, water, air, plants, and animals. Arsenic is combined with other

elements such as oxygen, chlorine, and sulfur to form inorganic arsenic compounds.

Historically, arsenic compounds were used in many industries, including: (i) as a

preservative in pressure-treated lumber; (ii) as a preservative in animal hides; (iii) as an

additive to lead and copper for hardening; (iv) in glass manufacturing; (v) in pesticides;

(vi) in animal agriculture; and (vii) as arsine gas to enhance junctions in semiconductors.

The United States has canceled the approvals of some of these uses, such as arsenic-based

pesticides, for health and safety reasons. Some of these cancellations were based on

voluntary withdrawals by producers. For example, manufacturers of arsenic-based wood

preservatives voluntarily withdrew their products in 2003 due to safety concerns, and the

EPA signed the cancellation order. In the Notice of Cancellation Order, the EPA stated

that it “believes that reducing the potential residential exposure to a known human

carcinogen is desirable.” Arsenic is an element—it does not degrade or disappear.

           43.   Inorganic arsenic is a known cause of human cancer. The association

between inorganic arsenic and cancer is well documented. As early as 1879, high rates of

lung cancer in miners from the Kingdom of Saxony were attributed, in part, to inhaled



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arsenic. By 1992, the combination of evidence from Taiwan and elsewhere was sufficient

to conclude that ingested inorganic arsenic, such as is found in contaminated drinking water

and food, was likely to increase the incidence of several internal cancers. The scientific

link to skin and lung cancers is particularly strong and longstanding, and evidence supports

conclusions that arsenic may cause liver, bladder, kidney, and colon cancers as well.

           44.   Lead is a metallic substance formerly used as a pesticide in fruit orchards,

but the use of such pesticides is now prohibited in the United States. Lead, unlike many

other poisons, builds up in the body over time as the person is exposed to and ingests it,

resulting in a cumulative exposure which can, over time, become toxic and seriously

injurious to health. Lead poisoning can occur from ingestion of food or water containing

lead. Acute or chronic exposure to material amounts of lead can lead to severe brain and

kidney damage, among other issues, and ultimately cause death.

           45.   The FDA has set standards that regulate the maximum ppb of lead

permissible in water: bottled water cannot contain more than 5 ppb of total lead or 10 ppb

of total arsenic. See 21 C.F.R. §165.110(b)(4)(iii)(A).

           46.   Mercury is a known toxin that creates health risks to both humans and

animals. The impact of the various ways humans and animals are exposed and ingest

mercury has been studied for years. In fact, in as early as 1997, the EPA issued a report to

Congress that detailed the health risks to both humans and animals.13




13
     https://www3.epa.gov/airtoxics/112nmerc/volume5.pdf




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           47.   Based on the toxicity and risks of mercury, regulations have been enacted at

both the Federal and state level.

           48.   Cadmium is likewise a known toxin that creates risk when ingested by

animals or humans. It has been specifically noted that “Kidney and bone effects have []

been observed in laboratory animals ingesting cadmium. Anemia, liver disease, and nerve

or brain damage have been observed in animals eating or drinking cadmium.”14

Defendants Falsely Advertise the Contaminated Dog Foods as Nutritious, Superior
Quality, Pure, and Healthy While Omitting Any Mention of the Heavy Metals, as Well
as Claiming the Foods Are Natural, Pure, and Safe Despite the Inclusion of the
Industrial Chemical BPA

           49.   Defendants formulate, develop, manufacture, label, package, distribute,

market, advertise, and sell their extensive Acana and Orijen lines of dry and freeze-dried

pet food products in Iowa and across the United States, including the Contaminated Dog

Foods.

           50.   Defendants tout themselves as “a leader and innovator in making pet foods,

Champion works to our own standards. These are our standards, not USDA, not FDA, not

CFIA. These agencies set minimum standards which we exceed exponentially.

Why? Because our Mission and our Values dictate that we do, and that’s what pet lovers

expect from us.”

           51.   In 2016, Defendants opened DogStar® Kitchens, a 371,100 square foot

production facility on 85 acres of land outside Bowling Green, KY. This facility has the




14
     https://www.atsdr.cdc.gov/ToxProfiles/tp5-c1-b.pdf




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capacity to produce up to 220 million pounds of Acana and Orijen pet food per year. The

CEO of Champion Pet Foods, Frank Burdzy, said, “The US is our fastest growing

market.”15 Prior to this facility’s construction, Defendants’ Acana and Orijen products

were exclusively manufactured in Canada. Since the DogStar® facility began production,

all Acana and Orijen foods sold in the United States have been manufactured at that facility.

           52.   Defendants have represented that their DogStar® Kitchens meet the European

Union’s standard for pet food ingredients processing. They have also represented a

commitment to using fresh and local ingredients, including wild-caught fish.

           53.   Defendants warrant, claim, state, represent, advertise, label, and market their

Contaminated Dog Foods as natural, fit for human consumption, fit for canine

consumption, and made from “Biologically Appropriate” and “Fresh Regional Ingredients”

consisting entirely of fresh meat, poultry, fish, and vegetables; containing “only 1

supplement – zinc”; “provid[ing] a natural source of virtually every nutrient your dog needs

to thrive”; and “guaranteed to keep your dog healthy, happy and strong.” Defendants had

a duty to ensure that these statements were true. As such, Defendants knew or should have

known that the Contaminated Dog Foods included the presence of heavy metals and/or

BPA.

           54.   Likewise, by warranting, claiming, stating, featuring, representing,

advertising or otherwise marketing that Orijen and Acana foods, including the




15
        https://www.foodengineeringmag.com/articles/95994-champion-petfoods-opens-dogstar-
kitchens




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Contaminated Dog Foods, are natural, fit for human consumption, fit for canine

consumption, and made from “Biologically Appropriate” and “Fresh Regional

Ingredients,” consisting entirely of fresh meat, poultry, fish, and vegetables, Defendants

had a known duty to ensure that there were no chemicals included in the Contaminated

Dog Foods. In fact, Defendants offered further assurances by representing the quality

control over the manufacturing of the Contaminated Dog Foods as a rigid process free of

outsourcing.

           55.   Defendants specifically promise on their website, “[W]e prepare ACANA

ourselves, in our own kitchens, where we oversee every detail of food preparation — from

where our ingredients come from, to every cooking, quality and food safety process.”

Similarly, Defendants promise that their “Dogstar® Kitchens have access to a myriad of

specialty family farms, with whom we partner for our supply of trusted ingredients.”

Finally, Defendants promise “[s]tandards that rival the human food processing industry for

authenticity, nutritional integrity, and food safety.” According to the Orijen and Acana

websites, Defendants’ kitchens “feature state-of-the-art fresh food processing

technologies.” As such, Defendants knew or should have known that higher temperatures

coupled with the type of containers used in manufacturing create a real risk of BPA in their

products.

           56.   The Contaminated Dog Foods are available at numerous retail and online

outlets in the United States, including Iowa.




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           57.   The Contaminated Dog Foods are widely advertised, and Defendants employ

a Chief Marketing Officer, a Vice President for Customer Engagement, and a Director of

Marketing in both the United States and Canada.

           58.   The official websites for Acana and Orijen display the Contaminated Dog

Foods; descriptions and full lists of ingredients for the Contaminated Dog Foods and

include the following promises:




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           59.   Defendants’ websites repeat the false and misleading claims, warranties,

representations, advertisements, and other marketing about the Contaminated Dog Foods

benefits, quality, purity, and natural make-up, without any mention of the heavy metals

and/or BPA they contain. This is not surprising given that natural pet food sales represent

over $5.5 billion in the United States and have consistently risen over the years.16




           60.   Moreover, Defendants have themselves acknowledged the importance of

quality dog food to the reasonable consumer:

           “Our No. 1 mandate is BAFRINO – biologically appropriate, fresh regional
           ingredients, never outsourced,” said Frank Burdzy, President and Chief
           Executive Officer of Champion Petfoods in Canada, in an interview with the
           Daily News Monday prior to housewarming activities outside and inside the
           kitchens.



16
  Statista, Natural and Organic Pet Food Sales in the U.S. from 2009 to 2019, The Statistics Portal
(accessed Oct. 25, 2017). https://www.statista.com/statistics/548957/us-sales-of-natural-and-organic-
pet-food/




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           “We build relationships with our suppliers and farms and fisheries. We are
           trusted by pet owners,” Burdzy said.17
           61.   As a result of Defendants’ omissions, a reasonable consumer would have no

reason to suspect the presence of heavy metals and/or BPA in the Contaminated Dog Foods

without conducting his or her own scientific tests, or reviewing third-party scientific testing

of these products.

           62.   However, after conducting third-party scientific testing, it is clear that the

Contaminated Dog Foods do in fact contain levels heavy metals and/or BPA.

Defendants’ Statements and Omissions Violate Iowa Laws

           63.   Iowa’s laws are designed to ensure that a company’s claims about its

products are truthful and accurate. Defendants violated these state laws by negligently,

recklessly, and/or intentionally incorrectly claiming that the Contaminated Dog Foods are

pure, healthy, and safe for consumption and by not accurately detailing that the products

contain the toxic heavy metals and/or BPA.              Defendants misrepresented that the

Contaminated Dog Foods are natural, fit for human consumption, fit for canine

consumption, and made from “Biologically Appropriate” and “Fresh Regional

Ingredients,” consisting entirely of fresh meat, poultry, fish, and vegetables; “feature[]

unmatched and unique inclusions of meat, naturally providing everything your dog or cat

needs to thrive”; and are “guaranteed” to “keep your dog happy, healthy, and strong.”



17
  Mason, C., Champion Petfoods DogStar Kitchens holds housewarming, BOWLING GREEN DAILY
NEWS (Jan. 5, 2016) available at http://www.bgdailynews.com/news/champion-petfoods-dogstar-
kitchens-holds-housewarming/article_bf34275d-2242-5f3f-a9cc-
14174235acc1.html?utm_medium=social&utm_source=email&utm_campaign=user-share (last
accessed March 1, 2018).



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           64.   Defendants’ marketing and advertising campaign has been sufficiently

lengthy in duration, and widespread in dissemination, that it would be unrealistic to require

Plaintiff to plead reliance upon each advertised misrepresentation.

           65.   Defendants have engaged in this long-term advertising campaign to convince

potential customers that the Contaminated Dog Foods were pure, healthy, safe for

consumption, and did not contain harmful ingredients such as arsenic and lead. Likewise,

Defendants have engaged in this long-term advertising campaign to convince potential

customers that the Contaminated Dog Foods are natural, pure, and safe despite the presence

of BPA in the food.

Plaintiff’s Reliance Was Reasonable and Foreseen by Defendants

           66.   Plaintiff reasonably relied on Defendants’ own claims, warranties,

representations, advertisements, and other marketing concerning the particular qualities

and benefits of the Contaminated Dog Foods.

           67.   Plaintiff relied upon Defendants’ false and/or misleading representations

alleged herein, including the websites and the Contaminated Dog Foods’ labels and

packaging in making her purchasing decisions.

           68.   Any reasonable consumer would consider the labeling of a product (as well

as the other false and/or misleading representations alleged herein) when deciding whether

to purchase. Here, Plaintiff relied on the specific statements and misrepresentations by

Defendants that the Contaminated Dog Foods were natural, fit for human consumption, fit

for canine consumption, and made from “Biologically Appropriate” and “Fresh Regional

Ingredients” consisting entirely of fresh meat, poultry, fish, and vegetables; “feature[ing]



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unmatched and unique inclusions of meat, naturally providing everything your dog or cat

needs to thrive”; and were “guaranteed” to “keep your dog happy, healthy, and strong”

with no disclosure of the inclusion of heavy metals, including arsenic or lead, and BPA.

Defendants’ Knowledge and Notice of Their Breaches of Their Express and
Implied Warranties

           69.   Defendants had sufficient notice of their breaches of express and implied

warranties. Defendants have, and had, exclusive knowledge of the physical and chemical

makeup of the Contaminated Dog Foods.

           70.   Additionally, Defendants received notice of the contaminants in their dog

and cat food, including the Contaminated Dog Foods, through the Clean Label Project,

which found high levels of heavy metals in their dog and cat food products. In fact,

Defendants responded to the Clean Label Project’s findings. Defendants spoke with the

Clean Label Project by phone regarding its findings and methodology, which showed that

Orijen pet foods have high levels of heavy metals compared to other pet foods. The Clean

Label Project informed Defendants that it compared Orijen pet foods to competitors’

products and gave them a one-star rating, meaning they contained higher levels of

contaminants than other products on the market.     18
                                                         Defendants’ direct contact with the

Clean Label Project demonstrates their knowledge about the Contaminated Dog Foods.




18
    Clean Label Project, “Orijen: Why Aren’t You Listening to Your Customers?”
http://www.cleanlabelproject.org/orijen-customers/ (last visited Feb. 6, 2018).




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           71.   Defendants also issued a white paper in defense of the Clean Label Project

findings that acknowledges that their products contain heavy metals.19 In that same White

Paper, Defendants state “[w]e systematically test ORIJEN and ACANA products for heavy

metals (arsenic, cadmium, lead and mercury) at two third-party laboratories.”

           72.   The White Paper discusses the sources of arsenic, cadmium, lead, and

mercury, and what Defendants contend to be acceptable levels of those heavy metals in pet

food.

           73.   Defendants did not widely disseminate this White Paper or direct consumers

to this White Paper. Moreover, Defendants did not change their packaging or labeling to

include a disclaimer that the Contaminated Dog Foods contain any levels of the heavy

metals or include a copy of the White Paper findings on the packaging or labeling. Finally,

there is no disclosure as to whether the Contaminated Dog Foods tested were manufactured

in the United States or Canada.

           74.   Defendants likewise had knowledge of the potential risk and inclusion of

BPA in their Contaminated Dog Foods. Defendants have publicly stated they ask their

suppliers if the packaging contains BPA while at the same time admitting that they in fact

do not perform any tests to confirm that the Contaminated Dog Foods are BPA free.

Moreover, Defendants no longer boast about “exceeding” regulations when asked if the

Contaminated Pet Foods are BPA free.




19
 http://www.championpetfoods.com/wp-content/themes/champion-
petfoods/res/research/Champion-Petfoods-White-Paper-Heavy-Metals.pdf




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Privity Exists with Plaintiff and the Proposed Class

           75.   Defendants knew that consumers such as Plaintiff and the proposed Class

would be the end purchasers of the Contaminated Dog Foods and the target of their

advertising and statements.

           76.   Defendants intended that the warranties, advertising, labeling, statements,

and representations would be considered by the end purchasers of the Contaminated Dog

Foods, including Plaintiff and the proposed Class.

           77.   Defendants directly marketed to Plaintiff and the proposed Class through

statements on their website, labeling, advertising, and packaging.

           78.   Plaintiff and the proposed Class are the intended beneficiaries of the

expressed and implied warranties.

                              CLASS ACTION ALLEGATIONS

           79.   Plaintiff brings this action pursuant to Iowa Rules of Civil Procedure 1.261

et. seq. on behalf of themselves and the following Class:

           All persons who are citizens of the State of Iowa who, from July 1, 2013, to
           the present, purchased the Contaminated Dog Foods for household or
           business use, and not for resale (the “Class”);

           80.   Excluded from the Class are the Defendants, any parent companies,

subsidiaries, and/or affiliates, officers, directors, legal representatives, employees, co-

conspirators, all governmental entities, and any judge, justice, or judicial officer presiding

over this matter.




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           81.   This action is brought and may be properly maintained as a class action.

There is a well-defined community of interests in this litigation and the members of the

Class are easily ascertainable.

           82.   Numerosity. The Class is so numerous that joinder of all members is

impracticable. While the exact number of absent Class members is unknown to Plaintiff

at this time, it is ascertainable by appropriate discovery and Plaintiff are informed and

believe, based upon the nature of trade and commerce involved that the proposed Class

may include hundreds or thousands of members, thus satisfying the requirement of Rule

1.261(1).



           83.   The members in the proposed Class are so numerous that individual joinder

of all members is impracticable, and the disposition of the claims of the Class members in

a single action will provide substantial benefits to the parties and Court.

           84.   Questions of law and fact common to Plaintiff and the Class include, but are

not limited to, the following:

                 (a)    whether Defendants owed a duty of care to Plaintiff and the Class;

                 (b)    whether Defendants knew or should have known that the
                        Contaminated Dog Foods contained heavy metals;

                 (c)    whether Defendants knew or should have known that the
                        Contaminated Dog Foods contained BPA;

                 (d)    whether Defendants wrongfully represented and continue to
                        represent that the Contaminated Dog Foods are natural, fit for human
                        consumption, fit for canine consumption, and made from
                        “Biologically Appropriate” and “Fresh Regional Ingredients”
                        consisting entirely of fresh meat, poultry, fish, and vegetables;



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              (e)   whether Defendants wrongfully represented and continue to
                    represent that the Contaminated Dog Foods are healthy, superior
                    quality, nutritious, and safe for consumption;

              (f)   whether Defendants wrongfully represented and continue to
                    represent that the Contaminated Dog Foods are natural;

              (g)   whether Defendants wrongfully represented and continue to
                    represent that the Contaminated Dog Foods are pure and safe;

              (h)   whether Defendants wrongfully represented and continue to
                    represent that the manufacturing of the Contaminated Dog Foods is
                    subjected to rigorous standards, including temperature;

              (i)   whether Defendants wrongfully failed to state that the Contaminated
                    Dog Foods contained heavy metals and/or BPA;

              (j)   whether Defendants’ representations in advertising, warranties,
                    packaging, and/or labeling are false, deceptive, and misleading;

              (k)   whether those representations are likely to deceive a reasonable
                    consumer;

              (l)   whether a reasonable consumer would consider the presence of heavy
                    metals and/or BPA as a material fact in purchasing pet food;

              (m)   whether Defendants had knowledge that those representations were
                    false, deceptive, and misleading;

              (n)   whether Defendants continue to disseminate those representations
                    despite knowledge that the representations are false, deceptive, and
                    misleading;

              (o)   whether a representation that a product is healthy, superior quality,
                    nutritious, and safe for consumption and does not contain arsenic,
                    cadmium, mercury, and/or lead is material to a reasonable consumer;

              (p)   whether Defendants’ representations and descriptions on the labeling
                    of the Contaminated Dog Foods are likely to mislead, deceive,
                    confuse, or confound consumers acting reasonably;

              (q)   whether Defendants violated variousIowa laws;

              (r)   whether Defendants breached their express warranties;

              (s)   whether Defendants breached their implied warranties;



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                     (t)    whether Defendants made negligent                 and/or     fraudulent
                            misrepresentations and/or omissions;

                     (u)    whether Plaintiff and the members of the Class are entitled to actual,
                            statutory, and punitive damages; and

                     (v)    whether Plaintiff and members of the Class are entitled to declaratory
                            and injunctive relief.

           85.      Fair and Efficient Adjudication of a Controversy. A class action satisfies the

requirement of Rules 1.262(2)(b), because a class action will permit the fair and efficient

adjudication of the controversy. Plaintiff satisfies the criteria enumerated in Rule 1.263

for determining this issue, inter alia as follows:

                 a. First, joint and common interests exist among members of the Class because

                    Defendants engaged in a common course of conduct giving rise to the legal

                    rights sought to be enforced by Plaintiff individually and on behalf of the

                    other members of the Class. Identical statutory violations and business

                    practices and harms are involved. Individual questions, if any, are not

                    prevalent in comparison to the numerous common questions that dominate

                    this action. Plaintiff’s claims are typical of those of the members of the Class

                    in that they are based on the same underlying facts, events, and circumstances

                    relating to Defendants’ conduct and they were all mislead by Defendants in

                    purchasing the Contaminated Dog Foods; all overpaid for the dog food; and

                    purchased pet food they would not have purchased if the levels of the heavy

                    metals and BPA was fully disclosed by the Defendants per the criteria of

                    Rule 1.263(1)(a). Moreover, the prosecution of separate actions by members




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                    of the Class would create the risk of inconsistent or varying adjudications

                    with respect to individual members of the Class that would establish

                    incompatible standards of conduct for Defendants per Rule 1.263(1)(b).

                    Finally, the common questions predominate over any individual questions

                    per the criteria in Rule 1.263(1)(e).


                 b. Moreover, absent a class action, most members of the Class would likely

                    find the cost of litigating their claims to be prohibitive, and will have no

                    effective remedy at law in satisfaction of the criteria in Rule

                    1.263(1)(f),(g),(m). Absent a class action, Class members will continue to

                    suffer harm and Defendant’s misconduct will proceed without remedy.

                 c. There are no unusual management difficulties that would preclude class

                    treatment. The Class treatment of common questions of law and fact is also

                    superior to multiple individual actions or piecemeal litigation in that it

                    conserves the resources of the courts and the litigants, and promotes

                    consistency and efficiency of adjudication

                 d. Finally, there are no other known actions brought by the proposed Class

                    members that are not representative parties and thus they have no apparent

                    substantial interest in individually controlling the prosecution of a separate

                    action.

           86.      Adequate Representation. In accordance with Rule 1.262(2)(c) and 1.263(2),

Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff has retained




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counsel with substantial experience in antitrust consumer class actions and complex

litigation. Plaintiff and her counsel are committed to vigorously prosecuting this action on

behalf of the Class, and have the financial resources to do so. Moreover, neither Plaintiff

nor their counsel have any interests adverse to those of the members of the Class.



           87.   Class treatment is superior to other options for resolution of the controversy

because the relief sought for each member of the Class is small such that, absent

representative litigation, it would be infeasible for members of the Class to redress the

wrongs done to them.

           88.   As a result of the foregoing, class treatment is appropriate.

                                    CLAIMS FOR RELIEF

                                           COUNT I

           Breach of Express Warranty, Iowa Code § 554.2313, Against Defendants
                                  on Behalf of the Class

           89.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           90.   Defendants marketed and sold their Contaminated Dog Foods into the stream

of commerce with the intent that the Contaminated Dog Foods would be purchased by

Plaintiff and the Class.

           91.   Defendants expressly warranted, advertised, and represented to Plaintiff and

the Class that their Contaminated Dog Foods are:




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                 (a) natural, fit for human consumption, fit for canine consumption, and made
                     from “Biologically Appropriate” and “Fresh Regional Ingredients”
                     consisting entirely of fresh meat, poultry, fish, and vegetables;

                 (b) contain “only 1 supplement – zinc”;

                 (c) nutritious, superior quality, pure, natural,     healthy and safe for
                     consumption;

                 (d) “provid[e] a natural source of virtually every nutrient your dog needs to
                     thrive”; and

                 (e) “guaranteed to keep your dog healthy, happy and strong.”

           92.   Defendants made these express warranties regarding the Contaminated Dog

Foods’ quality, ingredients, and fitness for consumption in writing through their website,

advertisements, and marketing materials and on the Contaminated Dog Foods’ packaging

and labels. These express warranties became part of the basis of the bargain Plaintiff and

the Class entered into upon purchasing the Contaminated Dog Foods.

           93.   Defendants’ advertisements, warranties, and representations were made in

connection with the sale of the Contaminated Dog Foods to Plaintiff and the Class.

Plaintiff and the Class relied on Defendants’ advertisements, warranties, and

representations regarding the Contaminated Dog Foods in deciding whether to purchase

Defendants’ products.

           94.   Defendants’ Contaminated Dog Foods do not conform to Defendants’

advertisements, warranties, and representations in that they:

                 (a) are not natural or suitable for consumption by humans or canines;

                 (b) contain levels of various heavy metals; and

                 (c) contain levels of BPA.




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           95.    Defendants were on notice of this breach as they were aware of the included

heavy metals and/or BPA in the Contaminated Dog Foods and based on the public

investigation by the Clean Label Product that showed their dog food products as unhealthy.

           96.    Privity exists because Defendants expressly warranted to Plaintiff and the

Class that the Contaminated Dog Foods were natural, suitable for consumption, and

contained only meat, poultry, fish, and/or vegetables, and guaranteed to keep dogs healthy,

happy, and strong.

           97.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the

Class suffered actual damages in that they purchased Contaminated Dog Foods that are

worth less than the price they paid and that they would not have purchased at all had they

known of the presence of heavy metals and/or BPA.

           98.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available thereunder for

Defendants’ failure to deliver goods conforming to their express warranties and resulting

breach.

                                            COUNT II

   Breach of Implied Warranty of Merchantability, Iowa Code § 554.2314, Against
                        Defendants on Behalf of the Class

           99.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           100.   Defendants are merchants engaging in the sale of goods to Plaintiff and the

Class.




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           101.   There was a sale of goods from Defendants to Plaintiff and members of the

Class.

           102.   At all times mentioned herein, Defendants manufactured or supplied the

Contaminated Dog Foods, and prior to the time the Contaminated Dog Foods were

purchased by Plaintiff and the Class, Defendants impliedly warranted to them that the

Contaminated Dog Foods were of merchantable quality, fit for their ordinary use

(consumption by dogs), and conformed to the promises and affirmations of fact made on

the Contaminated Dog Foods’ containers and labels, including that the food was:

                    (a) natural, fit for human consumption, fit for canine consumption, and
                        made from “Biologically Appropriate” and “Fresh Regional
                        Ingredients” consisting entirely of fresh meat, poultry, fish, and
                        vegetables;

                     (b) contain “only 1 supplement – zinc”;

                     (c) nutritious, superior quality, pure, natural, healthy and safe for
                         consumption;

                     (d) “provid[e] a natural source of virtually every nutrient your dog needs
                         to thrive”; and

                     (e) “guaranteed to keep your dog healthy, happy and strong.”

           103.   Plaintiff and the Class relied on Defendants’ promises and affirmations of

fact when they purchased the Contaminated Dog Foods.

           104.   The Contaminated Dog Foods were not fit for their ordinary use,

consumption by dogs, and did not conform to Defendants’ affirmations of fact and

promises as they contained heavy metals and/or BPA at levels material to a reasonable

consumer.




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           105.   The Contaminated Dog Foods that Defendants delivered to Plaintiff and the

Class also did not conform to affirmations of fact that they were natural because they

contained the industrial chemical BPA.

           106.   Defendants breached the implied warranties by selling the Contaminated

Dog Foods that failed to conform to the promises or affirmations of fact made on the

container or label as each product contained heavy metals and/or BPA.

           107.   Defendants were on notice of this breach as they were aware of the heavy

metals and/or BPA included in the Contaminated Dog Foods, and based on the public

investigation by the Clean Label Product that showed their dog food products as unhealthy.

           108.   Privity exists because Defendants impliedly warranted to Plaintiff and the

Class through the warranting, packaging, advertising, marketing, and labeling that the

Contaminated Dog Foods were healthy, natural, and suitable for consumption and by

failing to mention heavy metals or BPA.

           109.   As a direct and proximate result of Defendants’ conduct, Plaintiff and the

Class suffered actual damages in that they purchased Contaminated Dog Foods that are

worth less than the price they paid and that they would have not have purchased at all had

they known of the presence of heavy metals and/or BPA.

           110.   Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available thereunder for

Defendants’ failure to deliver goods conforming to their implied warranties and resulting

breach.




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                                            COUNT III

                  Fraud by Omission Against Defendants on Behalf of the Class

           111.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           112.    Defendants concealed from and failed to disclose to Plaintiff and the Class

that their Contaminated Dog Foods contained heavy metals and/or BPA.

           113.    Defendants further concealed from and failed to disclose to Plaintiff and the

Class that their Contaminated Dog Foods contained chemical ingredients.

           114.    Defendants were under a duty to disclose to Plaintiff and members of the

Class the true quality, characteristics, ingredients, and suitability of the Contaminated Dog

Foods because: (1) Defendants were in a superior position to know the true state of facts

about their product; (2) Defendants were in a superior position to know the actual

ingredients, characteristics, and suitability of the Contaminated Dog Foods; and (3)

Defendants knew that Plaintiff and the Class could not reasonably have been expected to

learn or discover that the Contaminated Dog Foods were misrepresented in the packaging,

labels, advertising, and website prior to purchasing the Contaminated Dog Foods.

           115.    The facts concealed or not disclosed by Defendants to Plaintiff and the Class

are material in that a reasonable consumer would have considered them to be important in

deciding whether to purchase the Contaminated Dog Foods.

           116.    Plaintiff and the Class justifiably relied on the omissions of Defendants to

their detriment. The detriment is evident from the true quality, characteristics, and




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ingredients of the Contaminated Dog Foods, which is inferior to what is advertised and

represented by Defendants.

           117.    As a direct and proximate result of Defendants’ conduct, Plaintiff and the

Class suffered actual damages in that they purchased Contaminated Dog Foods that are

worth less than the price they paid and that they would not have purchased at all had they

known of the presence of heavy metals and/or BPA.

           118.    Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available under the laws.

                                            COUNT IV

                  Unjust Enrichment Against Defendants on Behalf of the Class

           119.    Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           120.    Substantial benefits have been conferred on Defendants by Plaintiff and the

Class through the purchase of the Contaminated Dog Foods. Defendants knowingly and

willingly accepted and enjoyed these benefits.

           121.    Defendants either knew or should have known that the payments rendered

by Plaintiff were given and received with the expectation that the Contaminated Dog Foods

would have the qualities, characteristics, ingredients, and suitability for consumption

represented and warranted by Defendants. As such, it would be inequitable for Defendants

to retain the benefit of the payments under these circumstances.




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           122.   Defendants’ acceptance and retention of these benefits under the

circumstances alleged herein make it inequitable for Defendants to retain the benefits

without payment of the value to Plaintiff and the Class.

           123.   Plaintiff and the Class are entitled to recover from Defendants all amounts

wrongfully collected and improperly retained by Defendants, plus interest thereon.

           124.   Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available under the laws.

                                            COUNT V

           Fraudulent Misrepresentation Against Defendants on Behalf of the Class

           125.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           126.   Defendants falsely represented to Plaintiff and the Class that their

Contaminated Dog Foods are:

                     (a) natural, fit for human consumption, fit for canine consumption, and
                         made from “Biologically Appropriate” and “Fresh Regional
                         Ingredients” consisting entirely of fresh meat, poultry, fish, and
                         vegetables;

                     (b) contain “only 1 supplement – zinc”;

                     (c) nutritious, superior quality, pure, natural,    healthy and safe for
                         consumption;

                     (d) “provid[e] a natural source of virtually every nutrient your dog needs
                         to thrive”; and

                     (e) “guaranteed to keep your dog healthy, happy and strong.”

           127.   Defendants intentionally and knowingly made these misrepresentations to

induce Plaintiff and the Class to purchase their Contaminated Dog Foods.



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           128.   Defendants knew that their representations about the Contaminated Dog

Foods were false in that the Contaminated Dog Foods contain levels of heavy metals and/or

BPA. Defendants allowed their packaging, labels, advertisements, promotional materials,

and website to intentionally mislead consumers, such as Plaintiff and the Class.

           129.   Plaintiff and the Class did in fact rely on these misrepresentations and

purchased the Contaminated Dog Foods to their detriment. Given the deceptive manner in

which Defendants advertised, represented and otherwise promoted the Contaminated Dog

Foods, Plaintiff and the Class’ reliance on Defendants’ misrepresentations was justifiable.

           130.   As a direct and proximate result of Defendants’ conduct, Plaintiff and the

Class have suffered actual damages in that they purchased Contaminated Dog Foods that

are worth less than the price they paid and that they would not have purchased at all had

they known of the presence of heavy metals and/or BPA.

           131.   Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available under the laws.

                                           COUNT VI

           Negligent Misrepresentation Against Defendants on Behalf of the Class

           132.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           133.   Defendants had a duty to Plaintiff and the Class to exercise reasonable and

ordinary care in the formulation, testing, formulation, manufacture, marketing,

distribution, and sale of the Contaminated Dog Foods.




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           134.   Defendants breached their duty to Plaintiff and the Class by formulating,

testing, manufacturing, advertising, marketing, distributing, and selling a product to

Plaintiff that does not have the ingredients, qualities, characteristics, and suitability for

consumption that Defendants’ advertised and by failing to promptly remove the

Contaminated Dog Foods from the marketplace or to take other appropriate remedial

action.

           135.   Defendants knew or should have known that the ingredients, qualities, and

characteristics of the Contaminated Dog Foods were not as advertised or suitable for their

intended use, consumption by dogs, and was otherwise not as warranted and represented

by Defendants. Specifically, Defendants knew or should have known that: (1) the certain

of the Contaminated Dog Foods were not natural because they contained levels of the

chemical BPA; (2) the Contaminated Dog Foods were not nutritious, superior quality, pure,

natural, healthy, and safe for consumption because they contained high levels of heavy

metals; and (3) and the Contaminated Dog Foods were otherwise not as warranted and

represented by Defendants.

           136.   Plaintiff and the Class did in fact rely on these misrepresentations and

purchased the Contaminated Dog Foods to their detriment. Given the negligent manner in

which Defendants advertised, represented, and otherwise promoted the Contaminated Dog

Foods, Plaintiff and the Class’ reliance on Defendants’ misrepresentations was justifiable.

           137.   As a direct and proximate result of Defendants’ conduct, Plaintiff and the

Class have suffered actual damages in that they have purchased Contaminated Dog Foods




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that are worth less than the price they paid and that they would not have purchased at all

had they known they contained heavy metals and/or BPA.

           138.   Plaintiff and the Class seek actual damages, injunctive and declaratory relief,

attorneys’ fees, costs, and any other just and proper relief available.

                                            COUNT VII

           Violation of the Private Right of Action for the Consumer Frauds Act,
                                  Iowa Code Chapter 714H

           139.   Plaintiff incorporates by reference and realleges each and every allegation

contained above, as though fully set forth herein.

           140.   Plaintiff is a resident of the State of Iowa.

           141.   Defendants are “persons” within the meaning of Iowa Code § 714.16(j).

           142.   The Contaminated Dog Foods are “merchandise” within the meaning of Iowa

Code § 714.16(i).

           143.   There was a sale of merchandise from Defendants to Plaintiff and members

of the Class.

           144.   As required by Iowa law, the Iowa Attorney General has approved pursuit of

this suit as a class action.

           145.   Defendants’ deceptive representations and material omissions to Plaintiff

and the Class constitute unfair and deceptive acts and practices under Iowa law.

           146.   Pursuant to Iowa law, Defendants had a statutory duty to refrain from unfair

or deceptive acts or practices in the manufacture, promotion, and sale of the Contaminated

Dog Foods to Plaintiff and the Class.




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           147.   Defendants violated this statutory prohibition against engaging in unlawful

acts and practices by, inter alia, misrepresentating and omitting material facts with the

“intent that others rely upon the unfair practice, deception, fraud, false pretense, false

promise, misrepresentation, concealment, suppression, or omission” in connection with the

sale of their Contaminated Dog Foods. Iowa Code § 714H.3.

           148.   In connection with the sale to consumers of the Contaminated Dog Foods,

Defendants engaged in unfair and deceptive acts and practices, as alleged in this Petition

by unfairly and deceptively misrepresenting their Contaminated Dog Foods are:

                  (a) natural, fit for human consumption, fit for canine consumption, and made

                     from “Biologically Appropriate” and “Fresh Regional Ingredients”

                     consisting entirely of fresh meat, poultry, fish, and vegetables;

                  (b) contain “only 1 supplement- zinc”;

                  (c) “provid[e] a natural source of virtually every nutrient your dog needs to

                     thrive”; and

                  (d) “guaranteed to keep your dog healthy, happy, and strong.”

           149.   Defendants had exclusive knowledge of the material facts that the

Contaminated Dog Foods contained various levels of heavy metals and/or BPA and failed

to disclose such information to Plaintiff and the Class.

           150.   The facts concealed or not disclosed by Defendants to Plaintiff and the Class

are material in that a reasonable consumer would have considered them to be important

when deciding whether to purchase the Contaminated Dog Foods.




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           151.   Defendants intended for Plaintiff and the Class to rely on their

misrepresentations, deceptions, and/or omissions regarding the Contaminated Dog Foods’

quality, ingredients, and suitability for consumption by dogs.

           152.   Plaintiff and the Class were actually deceived by Defendants’

misrepresentations, deceptions, and omissions regarding the Contaminated Dog Foods’

quality, ingredients, and suitability for consumption by dogs.

           153.   Defendants’ conduct with respect to the labeling, packaging, advertising,

marketing, and sale of the Contaminated Dog Foods is unfair because it was substantially

injurious to consumers, not outweighed by the benefits to consumers, and is not one

consumers, themselves, can reasonably avoid.

           154.   Plaintiff and the Class members were unaware, and did not have reasonable

means of discovering the material facts that Defendants had misrepresented and failed to

disclose.

           155.   As a direct and proximate result of the unfair and deceptive conduct of the

Defendants, Plaintiff and the Class sustained damages when they purchased the

Contaminated Dog Foods that are worth less than the price paid and that they would not

have purchased at all had they known of the presence of heavy metals and/or BPA.

           156.   Substantial benefits have been conferred on Defendants by Plaintiff and the

Class through the purchase of the Contaminated Dog Foods. Defendants knowingly and

willingly accepted and enjoyed these benefits.




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           157.   Pursuant to Iowa Code § 714H.5, Plaintiff and the Class seek actual damages,

equitable relief, attorneys’ fees, costs, and any other just and proper relief available

thereunder for Defendants’ violations of the Iowa Consumer Frauds Act.

                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

prays for judgment against the Defendants as to each and every count, including:

           A.     An order declaring this action to be a proper class action, appointing Plaintiff

and her counsel to represent the Class, and requiring Defendants to bear the costs of class

notice;

           B.     An order enjoining Defendants from selling the Contaminated Dog Foods

until the levels of heavy metals and/or BPA are removed or full disclosure of the presence

of such appear on all labels, packaging, and advertising;

           C.     An order enjoining Defendants from selling the Contaminated Dog Foods in

any manner suggesting or implying that they are healthy, natural, and safe for consumption;

           D.     An order requiring Defendants to engage in a corrective advertising

campaign and engage in any further necessary affirmative injunctive relief, such as

recalling existing products;

           E.     An order awarding declaratory relief, and any further retrospective or

prospective injunctive relief permitted by law or equity, including enjoining Defendants

from continuing the unlawful practices alleged herein, and injunctive relief to remedy

Defendants’ past conduct;




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           F.     An order requiring Defendants to pay restitution to restore all funds acquired

by means of any act or practice declared by this Court to be an unlawful, unfair, or

fraudulent business act or practice, untrue or misleading advertising, or a violation of Iowa

law, plus pre- and post-judgment interest thereon;

           G.     An order requiring Defendants to disgorge or return all monies, revenues,

and profits obtained by means of any wrongful or unlawful act or practice;

           H.     An order requiring Defendants to pay all actual and statutory damages

permitted under the counts alleged herein;

           I.     An order requiring Defendants to pay punitive damages on any count so

allowable;

           J.     An order awarding attorneys’ fees and costs, including the costs of pre-suit

investigation, to Plaintiff and the Class; and

           K.     An order providing for all other such equitable relief as may be just and

proper.

                                         JURY DEMAND
           Plaintiff hereby demands a trial by jury on all issues so triable.




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Dated: October __, 2018               /s/ J. Barton Goplerud
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